                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION
United States of America,                         )
                                    Plaintiff,    )
vs.                                               ) Case No. 04-0244-06-CR-W-FJG
Enrique Cazarez,                                  )
                                    Defendant.    )

                                          ORDER
         Pending before the Court is defendant’s motion to suppress physical evidence (Doc.
#414), filed February 1, 2005, and the government’s response (Doc. #418), filed February
2, 2005.
         On April 12, 2005, Chief United States Magistrate John T. Maughmer held an
evidentiary hearing on the pending motion to suppress. Thereafter, on September 27,
2005, the Chief Magistrate entered a report and recommendation (Doc. #661) which
recommended denying the above-mentioned motion. Defendant’s objections to Chief
Magistrate Maughmer’s report and recommendation were filed on October 12, 2005 (Doc.
#677).
         The Court, after independent review of the record and applicable law, adopts and
incorporates by reference herein, the magistrate’s findings and conclusions. Therefore, the
Court finds that defendant’s motion to suppress physical evidence (Doc. #414), filed
February 1, 2005, must be denied.
         Accordingly, it is
         ORDERED that the magistrate’s findings and conclusions are hereby adopted and
incorporated herein by reference. It is further
         ORDERED that defendant’s motion to suppress physical evidence (Doc. #414), is
denied.
                                                  /s/Fernando J. Gaitan, Jr.
                                                  Judge Fernando J. Gaitan, Jr.
                                                  United States District Judge
Dated:   October 18, 2005
Kansas City, Missouri




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